Case 1:17-cr-10129-LTS Document 152 Filed 09/03/19 Page 1 of 2

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Richard Kopelman, MD, FACP

Vice Chairman for Education
Director, Medical House Staff
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Department of Medicine

Louisa C, Endicott

Professor of Medicine

Tufts University School of Medicine
rkopelman@tuftsmedicalcenter.org

August 7, 2019

Good Schneider Cormier and Fried

83 Atlantic Ave.

Boston MA 021 10--3711

ATTN: Syrie Fried

RE; Walter Johnson

Dear Attorney Fried:

My name is Rick Kopelman and I have been a friend of Walter Johnson, dating back to high school. |
volunteered to write enclosed this letter for him and hope it will help the judge get a better feel for Walter in
his entirety.

Thanks for all you are doing for him. I know he (and Pat) appreciate it.

If you have any questions or concerns about what | have written, feel free to contact me.

Sincerely,

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Richard I. Kopelman, MD
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August 7, 2019 Director, Medical House Staff
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‘ D ss

Honorable Leo T. Sorokin oe

. a ; ouisa C, Endicott
United States District Court Professor of Medicine
| Courthouse Way ‘Tufts University School of Medicine
Boston, MA 02210 rkopelman@tuftsmedicalcenter.org

Dear Judge Sorokin:

| am writing on behalf of Walter Johnson, who will be sentenced by you in September. For reference, | am a
physician and the Endicott Professor Medicine at Tufts University School of Medicine. i am the Vice-
Chairman of Medicine at Tufts Medical Center, supervising the residency program in internal medicine for
over 35 years. During that time I have overseen the training of over 600 young physicians.

My friendship with Walter Johnson goes back over 50 years. We were classmates and track teammates at
Natick High School. We were at Harvard at the same time (Walter ended up a year behind me because of a
postgraduate year at Mount Hermon). My roommate was a track teammate of Walter’s at Harvard so our
paths did cross during that time. Over the past several decades we would see each sporadically although
indirectly we knew of each other. For instance, | have played basketball with former associates of his from
his Wayland teaching and coaching days. While my son was at Harvard, I heard about Walter who was then
the assistant track coach there. More recently friends of mine in Wellesley had heard good things about his
work as a track coach in that town. In recent years, my wife (also a physician) and I would get together
socially with Walter and his fiancé (a close high school classmate of ours), either alone or in activities related
to our mutual pasts in Natick and Harvard.

I would describe Walter as an unassuming, unpretentious nice guy who was dedicated to his friends, his teams
and its members. | have never heard anyone speak a negative word about Walter. He has had a productive
career as a teacher and coach (this is not surprising to me since one of his earliest mentors was a member of
the Coaches Hall of Fame in Massachusetts who saw the potential in Walter and encouraged him to attain
high goals). When Walter was inducted into the Natick High School Athletic Hall of Fame a few years, ago,
several of our high school classmates traveled a great distance to celebrate this day with him. This is a
reflection of the high regard that we all felt for Walter. We have all been proud to consider Walter a friend
after all these years.

Needless to say we all were shocked and dismayed with what happened a couple of years ago. I would never
condone such activities and obviously Walter must pay for his crime. As a physician, I tend to look at things
from an illness perspective. Walter clearly had some type of psychological problem/illness that caused him
to stray. Although | am not a psychiatrist | would hope that his recent and future therapy will allow him to
function as a productive member of society just as he did so well for many decades. Once again, he has to pay
the price but it bothers me that this obviously bad circumstance could end up defining his legacy. Walter has
many good qualities and accomplishments and | would hope these would play some role in the determination
of his future.

Thank you for listening. | would be glad to answer any questions you may have of me.

Sincerely,
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Richard I. Kopelman, MD
